       Case 2:15-cr-01515-RB Document 450-6 Filed 06/15/18 Page 1 of 5




      lIS. D.partm.Bt of JuJtic.
     Drug  hforccrcnt idminbtration

                          .   REPORTOF                INVESTIGATION                                                    p.sc   I   of s

                                                                    Fi.
      5.   8y:rl.X      (irlpatrick,SA                              E                             6. F&   It6
           Atlas Cruces             RO                              tr                            l.lONDElLO, ,rudrh
                                                                    D
              Oosed
                                                                    tr
      7.
           D Aclbn
                              RequetEd Act'on Oo{IPlel€d
                        ftqulsled
                                                                    tr                              09-23-201s
      9.   Ohe, OffbeE; SA       P. llooden
      10. Reporl Rs:      ProffeE sith                                      on   912311 5.



  SYNOPSIS

  on 9/23/15 . a proffer was conducted with                                                                           regarding his
  involvemen t in distributiDg nethanphetamine in Grant Co unty, !n!t. fn str[,
 I      adm itted to delivering 1    3 pound quantities of netha[phetanine
 from Arizo na to Danj.eL JACQUEZ in Si1ver Clry, NM on several, occagions
 fron Janua ry to April of 2015.
 DE![AI!S

 1. Reference is nade to previous correspondence under
 2. A proffer was conducted with                   in Las Cruces. regarding
 his involvement $rith ,rACQUEZ. present for the proffer were SANM p. f{ooden,
 AUSA c. Winstead,                (attorney repres enting I),       prior
                    I
 begioning the inte rview, AUSA Winstead revilwed the conditlons of the to
 proffer and lii      stated that he undsrstood th ose conditions.
 3           rn sum, but not verbatlm, f       relac.d the folLowing inforoation:
             f        stated that he met JAceuEz through Toby PADILLA in the sunmer
              of 2OL4. I        sald that he had known ieorr.ta for over ZO years inO
              kne!, PADfLLA to be lnvolved ln uslng and selling methanpheta;i.ne
              durinq that tine, I        believed that PADTLLA had a methamphetamine
              supplier in California but could provide no further

 ll.       tbtri:lnbn                                              12. sgrEllnB {Ag€Dl}
            CtYbbr                                                                                                                           t0-16-2015
                                                                         tlilliam X Ktrkpatrlck,            SA
            EbLicl

            Olh6r                                                       /s/ Ronald R B!o{n,            GS                                    10-19-2015

DEA Fo.m             -6                                                   DEA
(Jd   1S95)                                                      ttug   E   orcamodAdorrdrt-6{o.r
                                                    nrb rEpod A th6 properor ot th. ftrro EltorcsrEnt AdmhEfgrhn                             GOVEINMEN7
                                      r\Eihot   !   nor   i!
                                                           conl6nl! rlEy bc dbsedielei odsue 0}a sgenca/ lo w hich lo6n6d.

                                                               BEvlous Edlion dd€A B,!4 rEy be u!sd.


                                                                                                                                         !
                                                                                                                                             s:*
                                                                                                            US v. JACQUEZ ET AL. 019936
        Case 2:15-cr-01515-RB Document 450-6 Filed 06/15/18 Page 2 of 5




  US. Departnent of Justice
  Drug Enforcenrnt Adminislntion



                    REPORT OF INVESTIGATION
                               (Continudtton)
                                                                                     MONDELLO, Judah
   4.
             2ol    5

                                                                                         09-23-2015

              informatio". I          arso believed that pADrLrA never knew he was
             making   dellveries to Silver City for JACQUEZ.
         .. II        stated that in November of 2OL4 he purchased the Dodge truck
              he was driving. at the tirne of his arrested and also lost his job
              shortly after acquiring the truck. Iadded           that another job in
             Texas did not come through and he found himself without ernployment
             and needed money to pay bil1s. fn Decenbet of 2014, I              said tha!
              PADTLIA'facilitated an agreement with .rACeuEZ f.ox          to receive a
             quantity of methampheLamine for JACeUEZ from a suppller in
             Phoenix.            explained that JACQUEZ had already agreed to obLain
             methanphetamine fronr this supplier and it would be delivered to his
             house dnd he wourd store j.t for a day or two. untir JAcQuEz could pick
             it up and- transport it, to silver city, NM. I          idenrifled eirterr
             MORENO as the Person who usually transported the methamphetamine for
             JACQUEZ and restinated          that a pound of methamphetamine was
             delivered to him each tirne.            also said that he did this twice
             in December of 2014 for JACeOEZ and received between $L50 and $200
             each time. I          recalled seeing Anthony DAvrtA with MoRENo and
                                             -
             JAcQuEz but st.ated that he attenpted    to rimit his contact to only
             JACQUEZ
        . Accordirig'to f,           January 9, zo]s was the ]ast time that, JAceuEz
             sent lioRENQ to pick up methanphet,amlne that had been delivered to
                               recalled that JACQUEZ did not accompany }IORENO
            because JACQUEZ was in El Paso.
        . Illi       said that after .ranuary'9th he began to transport.
            -.         -
            methamphetamine    from Phoenix to Silver City for JACeUEZ. I
            exprained that he received 9400 per pound when he derivered it to
            JAcouEz. I          also said that he wourd remain in siLver cit,y a few
            days while JACQUEZ collected proceeds from selling the
            methamphetamine and then he would transport money back t,o phoenix and
            deliver it to t,he supplier.
        rIl          recarred Ehat on January L5, 2015, he brougrht three pounds of
            netharphetamine E.o Sllver Citlr and delivered it to MORENO because
            .TACQUEZ was out of town.            stated that, he met, MORENO at,
            MORENOTS residence and later r,{as paid $1r2OO for the trip. I
            said that he delivered two or three pounds of methamphetamine each
            time he came to Silver City. -
IElForm       -Ba                                            DEA SEilStNVE
(Jut 1S96)                                          Dtug Brforcom onl Adm lnbtradon

                                       Thb reporl b lhe property o, lh. &us Erforcer:nt Adninbtafirn.
                          i*lh6s   i    nor ls cirnterlts rl€y b€ dbs$niatati outsila the agocy to w hhh bared.

                                                   R€ybus edlbn   d#    E/gf trEy ba used.




                                                                                               US v. JACQUEZ ET   AL. 019937
        Case 2:15-cr-01515-RB Document 450-6 Filed 06/15/18 Page 3 of 5




  US. Drpartmed of Justlce
  DrugEn forcerrn t Adminis tration




                    REPORT OF INVESTIGATION
                                 (Continuation)
                                                                                        MONDELLO, Judah
   4.
           3- of    5

                                                                                           09-23-20L5

          . r          al.so said that the derivery on February 3, 2ols was t,he first
             time he went to JAcQuEz's house on 32nd street and JACeUEZ w'as the
             only person he met, with there
         . I           st.ated that he did not know who,rACeUEZtS supplier was in
             Arizona for the metharnphetamine and the deliveries to his house were
             initially arranged by JACOUE?.              sra'red that he did help
             coordinate additlonal deliveries of methamphetamine and proceeds to
             the supplier. because he courd speak spanish and JAceuEZ courd
            not. r                               - able to piocure a.larger quantity
                              adnitted that he was
            of methamphetamine for JACeUEZ and this began in January when he
            started naking the deliverj.es to silver city. I             stat,ed rhat he
            did this in part to help JAcuQEz grow his distribution business and
            also so he could earn more since he was paid by the pound.
         . I          stated t.hat he used two telephonei, one had a 1602' area code
            and the other phone had a t562! area code.                      that '562,
            telephone was a prepaid phone and this was the onry phone he
            contact,ed the supplier with. r           said he did not know the
            identity of the supplier but believed he was-.added from Mexico.
            described the usual manner in which deliveries were conducted by
            saying once a carl was pleced to the supplier, the methanphet,anine
            was derivered to his house the same day.
                                                            I       said there- were one
            or two delivery guys who drove an older moG[Eyota           coror]a wi.th
            faded gray paint and had Arizona License plates.                said the
            methamphetamine was dropped off at his house and he never met them
            anlrwhere else. The payment of money would occur in a similar
            manner' I            would contact the supplier aird the- same male subject
            would irrive and pick up Ehe proceeds from him.
        . I           stated that TTACeUEZ paid $6,000 per pound for the
          H   iI"H::' ililffi
          methanphetamine back
                                             "i.li: :::: :i,T:::.":" oilt?1,'i.;m:.,;l:"
                                   to Arizona with I.           o" two occasions,
                                                                                                                    ;   n"r
           .rAcQUEz took proceeds to f             fat,her who held the money until
                      next t,rip to Si1ver City.
     . I          said that, lrAceuEz expressed an interest in obtaining muJ"ti-
          ounce guantities of cocaine and                admitted that he contacted the
          methamphetamine supplier on .IACQUEZ'S.behaIf to get a price
           -
          guote-            stated that the supplier quoted a price-of sgoo-gl,ooo
         per ounce and appeared alarmed at     - the inguiry. I          said thdt
DETT fu'M
(Jut 1996)
              -6a   -                    DEA SEIISITIVE
                                                       &ug Brforcsmont Admlolstra0on

                                          th'rs roporl b tha propBrty of ths &ug EforcenEnt AdEtqbtral.En.
                            t$ilher   I    nor is co$lents rnay bs d,ssertnated oublre tha agency lo whhh loaned.

                                                      Flcybus ediirn dated 8/94 nay ba used.




                                                                                                 US v. JACQUEZ ET AL. 019938
      Case 2:15-cr-01515-RB Document 450-6 Filed 06/15/18 Page 4 of 5




  U.S.   DeFrmert      of   J6Iice
 Drug []l forEcmnl     A    dministration

                                                                                                                         EEE   Eend

                       REPORT OF INVESTIGATION
                                       (Contlnualidr)                                             MONDELLo, ,rudah

   PrE. 4 of           5

                                                                                                     09-23-2015

            JACQUEZ concluded there wasnlt enough proflt for him at that price
            and he oever obtained any cocaine for JAceuEz.             added ihat
            JACQUEZ also asked hirn if he *new anyone Ehat could supply them ulth
            hi-grade narijuana or heroin. lI        said he toLd ,TACQUEZ that he
            did not and the subject was not brought up again.  -          also stateil
            that JACQUEZ used the term "singles,, to refer to cocaine Hhen they
            discussed the matter.
            I       said thaE on April 28, 2015, he relurned to -Silver CiEy with
            three. pound; of nethamphetamine that. he deLivered to JACQUEZ.
            explained that they [let late at night in Santa Clara, NM and helF f
            the methamphetamine to JACQUEZ. i-also           said that JACQUEZ
           offered to let I        stay at his house that nlght since it was 1ate
           and I        did not want to disturb hi.s falnii.y nenbers Hho live in the
           area. I         accepted the of,fer and met JAceUEz at his residence on
           32nd Street 20-30 ndnutes tater. ll--        said that he did not know
           lrhere JACoI EZ went Ln betreen the tine of their meeting in Santa
           clara and when he arrived at hj.s house, tut I          did not see the
           methanphetamine again. I          said tha! fre EISf-tea with his family
           the following day while waitlng for JACQUEZ to gather noney for him
           to take back to Arizona and stayed at a hotel ori tshe 29th. I
           also clairned that. the noney seized fron his truck belonged to trim ana
           his wife and he had brought it from Arizona with a plan to try and
           purchase a trailer frorn his. uncle so his fanily would have a place to
           stay when they vlslted the area, Or. he could also rent. the traller
           out for the incohe.
           In addition to the Lnformation on JACeUEZ and his assocLates. I
           related that a person named 'Jasonl., r{ho used to be a poUce oEEIEEF
           in Bayard, NM, was ]iving with Steven Jacquez near the cemetery in.
          Santa Clara. NM and was invoLved in selling r0ethanphetamine.
          said that Jason obtained the nethanphetamine from a supplier j.!t
          Tucson, AZ.
           I       also ldentified a person naned Marquez who sold cocaj.ne- from
          his house in Bayard, NM. I           added this house was the sane place
          whefe a shootlng occurred earLier this year and a person was shot in
          the face.
         I         related there wele two brothers $rho were members of a l6cal
          street gang who each drove Lincoln Navigators and are fron Minbres,
          NM.            sald these brothers live in a trai.l,er on Budge Drj-ve in
DEA   FOir   -Oa                                                     DEA SE S|T|VE
(JJr 1996)         -                                          Ilug Erforcsmoni AdtnlnkLrdor'
                                                thb repdt b lhE prop€rty d ti6 BuE E|forcsr|lat Adrtlbt atblt
                                  l€i,ler   I   nor 13 conlBnl! lrBy be dhsodnated outslre th! agency to w hi$ b6ned

                                                          R6vb€     edt'ron dat6d 8r,4   ray   be used.




                                                                                                          US v. JACQUEZ ET AL. 019939
       Case 2:15-cr-01515-RB Document 450-6 Filed 06/15/18 Page 5 of 5




 US. Department of Jusfice
   g Eh forccnrn t Administratbn
 Dru




                     REPORT OF INVESTIGATION
                               (Continuarion)
                                                                                         ITONDELLO, Judah
  4.
             5 of    5

                                                                                             09-23-2015

             Bayard, NM and are robbing other drug traffickers and were involved
             in a burgrary of the state Police office in silver city where severaL
             firearms were stolen.
 4. Prior to concluding t,he proffer, f        signed a consent form
 authorizing agents t.o retrieve data st,ored on the cellular telephone that
         had in his possession at the time of his arrest on April 30,
 2015.          did not have any further information to provide at the time
 and t.he proffer was ended.
-
 TNDEXING-




EEA Form       .6a                                             DEA SENSITIVE
(Jut 1996)                                           Dru g   Ehfo.crm ont Adm Inlstratlon

                                        This report b tlle properly ot the Bug hforcerrEnt Adrdlbtratirrl
                          l$ilher   !    nor ils conlenls nBy be dEsefiftaleal oulsire th6 agensy lo whlch baned.

                                                    Bevbus €dnirn dated   8J94   nry   be usEd.




                                                                                                  US   v   JACQUEZET AL.019940
